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1     DANIEL G. SWANSON, SBN 116556                  MARK A. PERRY, SBN 212532
      dswanson@gibsondunn.com                        mark.perry@weil.com
2     GIBSON, DUNN & CRUTCHER LLP                    JOSHUA M. WESNESKI (D.C. Bar No.
      333 South Grand Avenue                         1500231; pro hac vice)
3     Los Angeles, CA 90071                          joshua.wesneski@weil.com
      Telephone: 213.229.7000                        WEIL, GOTSHAL & MANGES LLP
4     Facsimile: 213.229.7520                        2001 M Street NW, Suite 600
                                                     Washington, DC 20036
5     CYNTHIA E. RICHMAN (D.C. Bar No.               Telephone: 202.682.7000
      492089; pro hac vice)                          Facsimile: 202.857.0940
6     crichman@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP                    MORGAN D. MACBRIDE, SBN 301248
7     1050 Connecticut Avenue, N.W.                  morgan.macbride@weil.com
      Washington, DC 20036                           WEIL, GOTSHAL & MANGES LLP
8     Telephone: 202.955.8500                        Redwood Shores Pkwy, 4th Floor
      Facsimile: 202.467.0539                        Redwood Shores, CA 94065
9                                                    Telephone: 650.802.3044
      JULIAN W. KLEINBRODT, SBN 302085               Facsimile: 650.802.3100
10    jkleinbrodt@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
11    One Embarcadero Center, Suite 2600
      San Francisco, CA 94111
12    Telephone: 415.393.8200
      Facsimile: 415.393.8306
13

14

15

16    Attorneys for Defendant APPLE INC.

17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              APPLE INC.’S STATEMENT IN SUPPORT
22    v.                                             OF ADMINISTRATIVE MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Yvonne Gonzalez Rogers

24         Defendant, Counterclaimant
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1            Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

2    submits this statement in support of Epic Games, Inc.’s Administrative Motion to Consider Whether

3    Another Party’s Material Should Be Sealed Pursuant to Civil Local Rule 79-5 (Dkt. 1304) (“Epic’s

4    Motion”). Apple respectfully requests that the Court partially seal Epic’s Motion for Relief from a

5    Nondispositive Pretrial Order of a Magistrate Judge (Dkt. 1305) (“Epic’s Motion for Relief”) and Exhibit

6    A to Epic’s Motion for Relief (“Exhibit A”), because they contain information sealable under controlling

7    law and Local Rule 79 5. Epic’s Motion for Relief and Exhibit A contain competitively sensitive, non-

8    public information regarding Apple’s engagement of outside legal counsel and consultants in connection

9    with press and communications legal strategy. Exhibit A also contains excerpts from Apple’s privilege

10   log prepared for the Special Masters conducting evaluation of the privilege claims stemming from

11   Apple’s re-review. The privilege log entries are required to be filed under the terms of the Joint

12   Stipulation and Order Approving Privilege Re-Review Protocol (Dkt. 1092) (the “Protocol”), but contain

13   personally identifiable information in the form of email addresses of Apple employees.

14          Apple’s proposed redactions of Epic’s Motion for Relief and Exhibit A are indicated in the

15   redacted version filed with this statement and itemized in the concurrently filed Declaration of Mark A.

16   Perry (the “Perry Declaration”).

17                                            LEGAL STANDARD

18          “The court may, for good cause, issue an order to protect a party or person from annoyance,

19   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

20   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

21   for many types of information, including, but not limited to, trade secrets or other confidential research,

22   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th

23   Cir. 2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172,

24   1178 (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing

25   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216,

26   at *1 (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the
27   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)

28   (granting request to seal “internal product codenames” and noting that a prior request for the same had


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1    also been granted). Courts often find good cause exists to seal personally identifiable information. See,

2    e.g., Snapkeys, Ltd. v. Google LLC, 2021 WL1951250, at *3 (N.D. Cal. May 14, 2021) (granting motion

3    to file under seal personally identifiable information, including email addresses and telephone numbers

4    of current and former employees).

5           Although a party must show compelling circumstances to seal information appended to

6    dispositive motions, the standard for non-dispositive motions is simply “good cause.” In re Anthem, Inc.

7    Data Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

8    Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

9    Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

10   should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

11   Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

12   Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

13   seal “because the request is narrowly tailored and only includes confidential information”).

14                                               DISCUSSION

15          Apple seeks to seal details regarding its engagement of certain outside counsel and consultants

16   appearing in Epic’s Motion for Relief and Exhibit A. Apple also seeks to seal personally identifiable

17   information in Exhibit A. See Perry Decl. ¶ 5.

18          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns

19   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public

20   has less of a need for access to court records attached only to non-dispositive motions because those

21   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.

22   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning

23   discovery generally are considered nondispositive of the litigation” (quotation omitted)); see also In re

24   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018

25   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).

26          Apple’s sealing request meets the good cause standard here. Lamartina v. VMware, Inc., 2024
27   WL 3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple

28   operates in an intensely competitive environment, and thus has taken extensive measures to protect the


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1    confidentiality of its information. See Perry Decl. ¶ 3. Disclosure of the sealed information in Epic’s

2    Motion for Relief and Exhibit A relating to the confidential engagement of outside counsel and

3    consultants could harm Apple’s business interests. Id. ¶ 5; see also DNA Genotek Inc., 2023 WL

4    4335734, at *2 (finding good cause where disclosure would “undercut” a party’s “position … in the

5    marketplace”). Additionally, courts in this district have found not only good cause, but compelling

6    reasons exist to seal personally identifiable information, contained in Exhibit A. See Snapkeys, 2021

7    WL 1951250, at *3 (granting motion to file under seal personally identifiable information, including

8    email addresses and telephone numbers of current and former employees); see also UnifySCC v. Cody,

9    2023 WL 7170265, at *1 (N.D. Cal. Oct. 30, 2023) (finding compelling reasons to seal personally

10   identifying information of employees, including names, addresses, phone numbers, and email

11   addresses).

12          Apple has narrowly tailored its sealing request to include only the information necessary to

13   protect its confidential business information and personally identifiable information. See Krommenhock

14   v. Post Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020) (granting motion to seal

15   “limited” information); see also Phillips, 307 F.3d at 1211; Williams v. Apple Inc., 2021 WL 2476916,

16   at *2–3 (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests with “tailored redactions”);

17   Dkt. No. 643 at 3 (finding Apple’s proposed redactions appropriate for an exhibit when redactions were

18   “narrowly tailored” to “sensitive and confidential information”). Apple has only partially redacted

19   limited information in both Epic’s Motion for Relief and Exhibit A. See Perry Decl. ¶ 5.

20          For the foregoing reasons, there is good cause that warrants partially sealing Epic’s Motion for

21   Relief and Exhibit A.

22                                                  CONCLUSION

23          Apple respectfully requests that the Court seal the information identified in the accompanying

24   declaration.

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1    Dated: March 11, 2025                           Respectfully submitted,

2                                                    By: Mark A. Perry
                                                     Mark A. Perry
3
                                                     WEIL, GOTSHAL & MANGES LLP
4
                                                     Attorney for Apple Inc.
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